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 6 Defendants / Counterclaim-Plaintiffs /
   Third Party Plaintiffs William T. Butler,
 7 Kristen Butler, and Arieyl, LLC

 8
                                UNITED STATES DISTRICT COURT
 9                                    DISTRICT OF NEVADA
10

11 MY DAILY CHOICE, INC.,
                                                          Case No. 2:20-cv-02178-JAD-NJK
12                 Plaintiff/
                   Counterclaim-Defendant,
13                                                        STIPULATION AND ORDER
           v.                                            STAYING CASE UNTIL 4/21/22
14
   WILLIAM T. BUTLER;
15 KRISTEN BUTLER; and ARIEYL, LLC,

16                 Defendants/                                      ECF No. 109
                   Counterclaim-Plaintiffs/
17                 Third Party Plaintiffs,
18         v.
19 JOSH ZWAGIL, JENNA ZWAGIL, and
   KARLI THOMAS,
20
             Third Party Defendants.
21

22 MY DAILY CHOICE, INC.,

23                 Plaintiff,
                                                          Case No. 2:20-cv-02225-JAD-NJK
24         v.
25 MARISSA BROOKE DONNELL,

26                 Defendant.
27

28                                                 -1-
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 1 MY DAILY CHOICE, INC.,

 2                  Plaintiff,
                                                             Case No. 2:20-cv-02228-JAD-NJK
 3          v.
 4 SKYLAR LAMBERT,

 5                  Defendant.
 6
     MY DAILY CHOICE, INC.,
 7
                    Plaintiff,
 8                                                           Case No. 2:20-cv-02232-JAD-NJK
            v.
 9
     DANIELLE LITUSKI and CHAD LITUSKI,
10
                    Defendants.
11

12

13          Pursuant to LR IA 6-2 and LR 7-1, Plaintiff/Counter Defendant My Daily Choice, Inc. and

14 Third Party Defendants Josh Zwagil, Jenna Zwagil, and Karli Thomas, on the one hand, and

15 Defendants/Counterclaimants/Third Party Plaintiffs Arieyl, LLC, William Butler, and Kristen

16 Butler and Defendants Skylar Lambert, Danielle Lituski, and Chad Lituski, on the other

17 (collectively, “the Parties”), by and through their respective counsel of record, hereby stipulate

18 and request that this Court stay this case and all pending deadlines for a period of 39 days to allow

19 the Parties to complete a mediation, which is scheduled for April 7, 2022. The Parties request that

20 the stay will continue until and expire on April 11, 2022 unless a settlement is reached or unless

21 the Parties inform the Court on or before April 11, 2022 that a settlement has been reached or that

22 the Parties are close to settling the case and require additional time to finalize settlement. This is

23 the first request for a stay of the case.

24          In support of this Stipulation, the Parties state as follows:

25          1.      Plaintiff My Daily Choice, Inc. (“MDC”) filed its Complaint in this matter against

26 Defendants William T. Butler, Kristen Butler, and Arieyl, LLC (the “Arieyl Parties”) on November

27 30, 2020. See ECF No. 1.

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 1           2.        MDC separately filed lawsuits against Defendants Marissa Brooke Donnell,1

 2 Skylar Lambert, and Danielle and Chad Lituski. Those cases were consolidated into this action.

 3 See ECF No. 42.

 4           3.        On October 7, 2021, the Arieyl Parties filed their Counterclaim and Third Party

 5 Complaint, alleging claims against MDC and Third Party Defendants Jenna Zwagil, Josh Zwagil,

 6 and Karli Thomas. See ECF No. 64.

 7           4.        The Parties have been engaged in settlement discussions and believe that a

 8 mediation will assist the Parties in resolving their claims in this matter. In an effort to resolve this
 9 case, the Parties scheduled a mediation with JAMS before the Hon. Peggy Leen (Ret.) to be held

10 on April 7, 2022 in Las Vegas.

11           5.        Pursuant to the current scheduling order, the following deadlines are currently in

12 effect:

13                a.      Deadline to complete discovery, other than expert discovery: July 6, 2022

14                b.      Deadline to serve reports from retained experts: May 9, 2022

15                c.      Deadline to serve rebuttal expert reports: June 8, 2022

16                d.      Deadline to file and serve dispositive motions: August 8, 2022

17                e.      Deadline to file and serve joint pre-trial order: September 6, 2022, or 30 days

18                        after resolution of dispositive motions

19 See ECF No. 93.

20           6.        The Parties request that the Court extend those pending deadlines based on the

21 length of the requested stay as follows:

22                a.      Deadline to complete discovery, other than expert discovery: July 6, 2022 to

23                        August 15, 2022

24                b.      Deadline to serve reports from retained experts: May 9, 2022 to June 20, 2022

25                c.      Deadline to serve rebuttal expert reports: June 8, 2022 to July 20, 2022

26
     1
     Ms. Donnell is pro se in this matter. She has not been participating in the litigation or been
27 responsive to communications from the Parties.

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 1              d.         Deadline to file and serve dispositive motions: August 8, 2022 to September

 2                         19, 2022

 3              e.         Deadline to file and serve joint pre-trial order: September 6, 2022 to October

 4                         17, 2022, or 30 days after resolution of dispositive motions

 5         7.        The Parties additionally request a stay of resolution of the following matters

 6 currently pending before the Court until a settlement is reached or the stay expires, whichever

 7 occurs first:

 8              a.         Counterclaim-Defendant My Daily Choice, Inc.’s Motion to Dismiss
 9                         Defendants’ Counterclaims (ECF No. 80) (filed November 11, 2021) and Third
10                         Party Defendants Josh Zwagil, Jenna Zwagil, and Karli Thomas’ Motion to
11                         Dismiss Defendants’ Third-Party Complaint (ECF No. 88) (filed December 20,
12                         2021).
13                   i.       The Arieyl Parties filed an omnibus opposition to the motions to dismiss on
14                            January 19, 2022 (ECF No. 94), and MDC and the Third Party Defendants
15                            jointly filed an omnibus reply in support of their motions on February 2,
16                            2022 (ECF No. 102).
17                   ii.      As part of their opposition to the motions to dismiss, the Arieyl Parties
18                            requested leave to amend their complaint in the event that its pleading was
19                            dismissed. See ECF No. 94. MDC and the Third Party Defendants opposed
20                            this request as to certain claims in their reply brief (ECF No. 102), and the
21                            Arieyl Parties filed a limited reply in support of the request on February 9,
22                            2022 (ECF No. 105).
23              b.         Plaintiff and Counterclaim-Defendant My Daily Choice, Inc.’s Motion to
24                         Compel Forensic Examination (ECF No. 90)
25                   i.       This motion was filed on January 7, 2022.
26

27

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 1                  ii.    The Arieyl Parties filed their response to the motion on January 28, 2022

 2                         (ECF No. 101), and MDC filed its reply in support of the motion on

 3                         February 4, 2022 (ECF No. 104).

 4                  iii.   A hearing, which the Parties request be continued until after the stay, is

 5                         currently scheduled for March 9, 2022 at 1:00 p.m. See ECF No. 108. The

 6                         Parties request that the hearing be rescheduled to the Court’s first available

 7                         date following the expiration of the stay.

 8          8.      The Parties remain heavily involved in discovery at this time. They are currently
 9 engaged in the meet and confer process as to both MDC’s requested discovery from the Arieyl

10 Parties and also as to the Arieyl Parties’ requests to MDC and the Third Party Defendants.

11          9.      A stay of 39 days will allow the Parties to preserve resources pending mediation.
12 Without a stay, the Parties will be required to continue expending funds on this case in the

13 meantime, which will have the result of making a settlement more difficult.

14          10.     The Parties request that the stay continue until and expire on April 11, 2022 unless
15 a settlement is reached or unless the Parties inform the Court on or before April 11, 2022 that a

16 settlement has been reached or that the Parties are close to settling the case and require additional

17 time to finalize settlement.2

18          11.     In the case a settlement is reached or in the case that the Parties require additional

19 time to finalize settlement, the Parties request that the stay continue in effect indefinitely upon

20 filing of a notice of settlement, with the Parties filing status reports every three weeks thereafter

21 until a stipulation of dismissal is entered and signed by the Court.

22          12.     In the case that no settlement is reached, the Parties will file notice on April 11,

23 2022 reflecting the lack of settlement. Under those circumstances, the Parties request that the stay

24 would then expire at 11:59 p.m. on April 11, 2022.

25
     2
26   The parties issued limited third-party document subpoenas in January and February 2022 and
   request that the stay not apply to the production of responsive materials as they may be helpful for
27 mediation.

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 1          13.     Additionally, staying resolution of the pending motions before this Court will have

 2 the effect of preserving judicial resources in the case that a settlement is reached.

 3          14.     This request is made in good faith and without any dilatory motive.

 4          Accordingly, the Parties stipulated and request that this Court stay this case and all pending

 5 deadlines for a period of 39 days to allow the Parties to complete a mediation as set forth herein.

 6          IT IS SO STIPULATED.

 7          Dated: March 3, 2022.

 8   Respectfully Submitted,                            Respectfully Submitted,
 9   /s/ Ronald D. Green                                /s/ Ross M. Campbell
     Marc J. Randazza, NV Bar No. 12265                 Erika Pike Turner, NV Bar No. 6454
10   Ronald D. Green, NV Bar No. 7360                   Jared M. Sechrist, NV Bar No. 10439
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     Attorneys for Defendants/ Counterclaim-            California Bar No. 234827
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     Butler, Kristen Butler, and Arieyl, LLC; and       1140 S. Coast Highway 101
16   Defendants Skylar Lambert, Danielle Lituski,       Encinitas, California 92024
     and Chad Lituski
17                                                      Attorneys for Plaintiff/ Counterclaim
                                                        Defendant My Daily Choice, Inc. and Third
18                                                      Party Defendants Josh Zwagil, Jenna Zwagil,
                                                        and Karli Thomas
19

20                                                 IT IS SO ORDERED:
21

22
                                                   UNITED STATES DISTRICT JUDGE
23
                                                                 3-8-2022
24                                                 DATED:

25

26

27

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